Case 2:09-cr-00005-JRG-RSP          Document 158        Filed 08/25/09      Page 1 of 2 PageID #:
                                           237



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §   Case No. 2:09CR5(4)
                                                §
SHALONDA ROSHEA MOTON                           §
a/k/a SHALONDA ROSHEA GRIGSBY                   §



              ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                        FINDING DEFENDANT GUILTY

       On this day, the Court considered the Findings of Fact and Recommendation of United States

Magistrate Judge Charles Everingham IV regarding Defendant’s plea of guilty to Count 1 of an

Information in violation of Title 18, U.S.C., § 641,Theft of Public Money-Misdemeanor. Having

conducted a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11, the Magistrate

Judge recommends that the Court accept the guilty plea of the Defendant. Objections to the Findings

of Fact and Recommendation have been waived by all parties. The Court is of the opinion that the

Findings of Fact and Recommendation should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

States Magistrate Judge, filed July 30, 2009, are hereby ADOPTED.

       It is further ORDERED that, pursuant to Defendant’s plea agreement, the Court finds

Defendant GUILTY of Count 1 of the Information in the above-numbered cause.
Case 2:09-cr-00005-JRG-RSP      Document 158    Filed 08/25/09   Page 2 of 2 PageID #:
                                       238


      SIGNED this 25th day of August, 2009.



                                        __________________________________________
                                        T. JOHN WARD
                                        UNITED STATES DISTRICT JUDGE
